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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

H&L FARMS LLC, et al.,                   *

      Plaintiffs,                        *

vs.                                      *
                                                  CASE NO. 4:21-CV-134 (CDL)
SILICON RANCH CORPORATION, et            *
al.,
                                         *
      Defendants.
                                         *

                                     O R D E R

      The   injunction       in   this   action     requires       Defendants      to

"complete    all    requirements      necessary    to   obtain      a    'Notice   of

Termination under the General Permit from Georgia's Environmental

Protection Division" by September 1, 2024.               Compliance Schedule,

Item 1.f.     Defendants seek an extension of this deadline until

December 6, 2024.      The requested schedule change would also impact

item 1.g of the compliance schedule, which requires monitoring

until   twelve      months   after    Defendants      obtain       the   Notice    of

Termination.       Plaintiffs oppose the extensions.

      Through the Special Master, Defendants provided the Court

with two main reasons for their requested extension. 1                   First, the

site experienced unusually dry weather from June 1-July 19, 2024

with little measurable rainfall.             The drought conditions killed



1A copy of Defendants' correspondence to the Special Master was provided
to Plaintiffs.
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some of the grass that was planted in the early spring and

prevented much of the grass planted during the drought period from

germinating.       Second, Defendants have identified new areas of

erosion downstream from the permissible limits of disturbance

shown in the Erosion, Sedimentation and Pollution Control Plan.

They hired engineers to design a remedy, which they have submitted

to the Georgia Environmental Protection Division and which has

been approved by the EPD with an amended Erosion, Sedimentation

and Pollution Control Plan.       Construction of the remedial design

will disturb areas which cannot be grassed and stabilized by the

existing September 1, 2024 deadline.

     The Court is disappointed that Defendants have been unable to

fully comply with the compliance schedule.              But based on the

Court’s monitoring of Defendants’ efforts through the Special

Master, the Court finds that the request for an extension is made

in good faith and not for purposes of delay or to improperly avoid

compliance   with    the   injunction.   Accordingly,         the   compliance

schedule is amended such that the item 1.f Notice of Termination

deadline shall be December 6, 2024, with a corresponding extension

for item 1.g to December 6, 2025.        The Court will expect a full

report by Defendants at the October 15, 2024 status conference on

their progress toward meeting the December 6, 2024 deadline.

     The   Court    understands   Plaintiffs’     frustration        with    any

additional delays.     And the Court will not tolerate empty promises


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and unjustified excuses by Defendants.            The Court’s main focus,

however, with regard to injunctive relief is to make reasonably

certain that the Defendants’ site is permanently stabilized so

that Plaintiffs will be able to enjoy the use of their property

untarnished by sedimentation runoff in amounts materially greater

than before Defendants disturbed the upstream property.                   As to

past    (and   perhaps   future)    damages,   Plaintiffs       will   have   an

opportunity to recover those at the appropriate time.

       IT IS SO ORDERED, this 28th day of August, 2024.

                                          S/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA




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